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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:15CR178

        vs.
                                                                               ORDER
KIMBERLY SANTIAGO ROBINSON,

                        Defendant.


        This matter is before the court on defendant's unopposed MOTION TO EXTEND PRETRIAL
MOTIONS DEADLINE [194]. The Court notes that the defendant’s Pretrial Motion Deadline expired on
March 10, 2017. However, for good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 21-day extension. Pretrial Motions shall be filed by March 31,
2017.


        IT IS ORDERED:
        1.      Defendant's unopposed MOTION TO EXTEND PRETRIAL MOTIONS DEADLINE
[194] is granted. Pretrial motions shall be filed on or before March 31, 2017.
        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between March 10, 2017 and March 31, 2017, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 14th day of March, 2017.

                                                           BY THE COURT:

                                                           s/ Susan M. Bazis
                                                           United States Magistrate Judge
